  Case 2:12-cv-03319-SDW-SCM Document 81 Filed 04/24/19 Page 1 of 2 PageID: 848



                                            GeyerGorey LLP
                                          2006 Berwick Drive
                                         Cinnaminson, NJ 08077
                                             (856) 607-5708
                                         brad@geyergorey.com

                                              April 23, 2019

Via ECF
Magistrate Judge Steven C. Mannion
United States District Court - NJ
Martin Luther King, Jr. Federal Courthouse
50 Walnut Street
Newark, NJ 07102

              Re:    United States, ex rel. Armstrong v. Andover, et al.,
              Civil Action No. (12-3319 SDW) Joint Discovery Dispute Letter


       Dear Judge Mannion:

               I represent the Relator, Kenneth Armstrong in this matter against Defendants Andover
       Subacute & Rehab Center Services One, Inc., Andover Subacute & Rehab Center Services Two,
       Inc. (“Andover Defendants”), the Estate of Dr. Hooshang Kipiani (“Kipiani”) and Dr. Sanjay
       Jain (“Jain”) in the above-referenced action. Hartmann Doherty represents Andover Defendants
       and Kipiani. Mr. Haftel represents Jain. Please accept this as a joint dispute letter pursuant to the
       Court’s Case Management Order(“CMO”) (Doc. No. 47). Last week, counsel met and conferred
       regarding interrogatory compliance in an effort to resolve this dispute. That effort was not
       successful.

               On April 12, 2019, Relator served eight (8) interrogatories directed to Andover
       Defendants and Estate of Kipiani. (See Exhibit “A”). These interrogatories were targeted to elicit
       the information that the Relator would otherwise have to obtain from the Claims Data (e.g. date
       of claim, patient, billing code, amount of claim, amount paid, date paid) for these Defendant’s
       claims – the purpose of which was to have the Defendants authenticate its own claims to
       Medicare and Medicaid.

               Defendants object to these interrogatories based on the CMO’s provision that
       interrogatories were to be served on or before November 23, 2019. The Interrogatories demand
       that Andover Defendants and Estate of Kipiani create lists of claims submitted to
       Medicare/Medicaid on behalf of Kipiani in 2009-2011. In addition, Kipiani is deceased and
       Andover Defendants no longer exist as operating businesses and no longer have any employees
       or personnel familiar with the substance of the records to which these interrogatories relate
       (which, in any event, relate to claims submitted by Kipiani and not by Andover Defendants).
       Therefore, neither Kipiani nor Andover Defendants are capable of providing substantive
       responses to any of the interrogatories.
  Case 2:12-cv-03319-SDW-SCM Document 81 Filed 04/24/19 Page 2 of 2 PageID: 849




               The essence of this dispute is that the Defendants believe the interrogatory deadline has
       passed. Meanwhile, Relator’s counsel observes that there have been significant exchanges of
       information with defendants and the successor organization to address what is a challenging state
       of the historical record, with predecessor and successor organizations pointing at each other,
       where the medical director is deceased and the organization that would have had knowledge
       about the claims no longer exists. In essence, it took this long to confirm where the gaps would
       be and to make targeted interrogatories productive in a context where we have made significant
       progress over a broad platform of discovery issues.


              For all of the reason herein, all Counsel request a discovery conference.

                                            Respectfully submitted,

Dated: April 23, 2019                       /s Bradford L. Geyer
                                            GeyerGorey LLP
                                            2006 Berwick Drive
                                            Cinnaminson, NJ 08077
                                            (856) 607-5708
                                            Counsel for Relator
